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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                            Plaintiff,

    -against-                                  19-CR-0561 (LAP)
                                               [11-civ-0691 (LAK)]
STEVEN DONZIGER,

                            Defendant.


   MOTION TO ADJOURN ON BEHALF OF STEVEN DONZIGER




                CIVIL LIBERTIES DEFENSE CENTER
                   Lauren Regan, Attorney At Law
                      On Behalf Of Mr. Donziger




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PRELIMINARY STATEMENT IN SUPPORT OF MOTION TO ADJOURN

       The planet is in the middle of a pandemic the likes of which have not been

seen in over a century. In less than a year, over one million people have died from

COVID-19, with nearly a quarter million dead from the virus in the United States

alone. On the date of this writing, the U.S. logged a recent high of over seventy

thousand new cases and nine hundred new deaths,1 signaling not a return to normal,

but a resurgence of the virus in numbers not seen since July.2 Public health experts

have said that they themselves would not feel comfortable going to an indoor dinner

party, let alone a multi-day trial. The experts have further noted that the most

important factor of concern in avoiding infection and the too often grave

consequences of the virus is the rate of “community transmission:” how many new

cases of COVID-19 there are in one’s immediate area.3 Relatedly, a multi-hour trial

in a small courtroom with approximately 10 people is considered a “high-risk

activity”, even if all parties are wearing masks.4 Current statistical trends predict



1
  Covid in the U.S.: Latest Map and Case Count, N.Y. TIMES,
https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (last visited, Oct. 19,
2020).
2
  U.S. Records 70,000 New Cases in a Day for the First Time Since July N.Y. TIMES,
https://www.nytimes.com/live/2020/10/17/world/covid-coronavirus (last visited, Oct. 19, 2020)
3
  Olga Khazan, How to Tell If Socializing Indoors Is Safe, THE ATLANTIC, Oct. 12, 2020,
https://www.theatlantic.com/politics/archive/2020/10/it-safe-have-dinner-together-
inside/616568/.
4
  Calculation done using the MyCovidRiskApp, an application developed by the Warren Alpert
Medical School of Brown University. The app uses data from the New York Times to calculate
the various risk levels of activities in certain areas. MyCOVIDRiskApp, WARREN ALPERT MED.
SCH. BROWN UNIV., https://mycovidrisk.app/ (last visited Oct. 19, 2020).

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that between 210,000 and 420,000 new cases of COVID-19 in the U.S. will likely

be reported during the week ending November 7th, 2020,5 the week this Court has

set for trial. Dkt. 168; 172. The infection numbers in other countries, particularly

those from which witnesses and trial observers will fly to New York, are even worse

than the city’s numbers.6 While witnesses and attendees will assumedly exercise the

utmost caution, due care can reduce, but not eliminate, the risk that holding this trial

in November, in a small courtroom, could create a so-called “super-spreader event.”

In sum, the ramifications of attempting to try this case in the Southern District of

New York on November 4th are too significant for this Court to ignore.

       Beyond the actual risks to the health and safety of all involved, salutary

actions taken by sovereigns the world over, as well as medically-dictated precautions

taken by individuals, will significantly curtail Mr. Donziger’s rights if this case goes

to trial on November 4th. Specifically, a trial held in two weeks’ time––just as the

pandemic is headed for new peaks7––would seriously infringe upon Mr. Donziger’s




5
  COVID-19 Forecasts: Cases, CTR. FOR DISEASE CONTROL AND PREVENTION,
https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/forecasts-cases.html (last visited,
Oct. 19, 2020).
6
  Tracking COVID-19 excess death across countries, THE ECONOMIST,
https://www.economist.com/graphic-detail/2020/07/15/tracking-covid-19-excess-deaths-across-
countries (last visited, Oct. 19, 2020).
7 N.Y.’s New Virus Cases Exceed 2,000 for First Time Since May (1), BLOOMBERG LAW, Oct.
21, 2020, https://news.bloomberglaw.com/pharma-and-life-sciences/new-york-new-covid-19-
cases-above-2-000-first-time-since-may.

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rights to be confronted with the witnesses against him, to have the use of compulsory

process in presenting a defense, and to be assisted effectively by counsel.

         This Court has broad, but not unfettered, discretion to determine its own

calendar.8 Respecting any defendant’s fundamental constitutional rights and the

safety of all participants must takes precedence over calendaring. Mr. Donziger

therefore respectfully requests an adjournment of this matter, in furtherance of the

preservation of his constitutional rights and the safety and well-being of all those

likely to be affected by attempts to conduct a fair and public trial. In the absence of

some compelling reason why a trial on these “petty offenses” must be held in the

immediate future, the defense respectfully requests this matter be adjourned.


                                         ARGUMENT

    I.      COVID-19 RESTRICTIONS PRECLUDE THE ATTENDANCE OF
            DEFENSE WITNESSES

    Mr. Donziger’s defense requires the live testimony of multiple witnesses from

around the world, all of which are ready and willing to testify at Mr. Donziger’s

request. Unfortunately, due to travel and health restrictions and the time constraints




8
 Morris v. Slappy, 461 U.S. 1, 11 (1983) (finding that broad discretion must be granted trial
courts on matters of continuances); Lewis v. Rawson, 564 F.3d 569, 577 (2d Cir. 2009) (holding
that precedent requires appellate courts to be particularly solicitous of a District Court’s ruling on
a motion to adjourn).



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posed by a November 4th trial date, most, if not all, will not be able to provide live

testimony unless this case is adjourned. Dkt. 180, at 2.

       Several ready and willing witnesses are actually or virtually prohibited from

traveling to New York due to travel restrictions and barriers erected by various

governments to curb COVID-19. For example, one witness resides in the vicinity

of Barcelona, Spain, where all non-essential travel is severely restricted. Testifying

live at the currently scheduled trial would require him to quarantine for 14 days

upon arriving in New York, and then for 14 more days upon returning home, if he

were permitted to return home at all.9 See Declaration of Simon Taylor. Similarly,

two witnesses reside in Canada and would also be required to quarantine for 14

days upon arriving in New York,10 and another 14 days upon their return to

Canada. See Decl. John Phillips.

       Ms. Glavin has suggested (see Dkt. 180), but not actually committed to, the

idea that if these witnesses testified via live-video from within a United States

Consulate, she would consider not objecting to such remote testimony. Although

Mr. Donziger maintains that the “strong preference” for live testimony cautions

against the virtual appearance of witnesses, defense counsel has nonetheless made

inquiries to all relevant consulates. Every consulate contacted has responded that


9
  COVID-19 Travel Advisory, N.Y. STATE, https://coronavirus.health.ny.gov/covid-19-travel-
advisory (last accessed Oct. 19, 2020).
10
   Id.

                                              5
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either such a service is not provided or that such a service is not currently provided

due to COVID-19 restrictions. See Dkt. 180.

     A number of necessary defense witnesses reside in states spread across the U.S.

Some witnesses reside in states on New York’s mandatory quarantine list and

would therefore be forced to quarantine for 14 days upon arriving in the state and

14 upon their return home. Almost all, however, are high-risk for COVID-19 due

to their age, underlying health conditions, and/or co-morbidities and have indicated

to Mr. Donziger that, for those reasons, they will be unable to travel to New York

in November. These witnesses have nonetheless been noticed and subpoenaed.

Many will be submitting affidavits and letters to this Court explaining the health-

related reasons that preclude them from complying with their appearance

subpoenas.11 E.g. Decl. S.Taylor; Decl. J. Phillips


           a. Proceeding to Trial on November 4, 2020 Would Preclude any of
              the Defense Witnesses Residing in Ecuador from Testifying

        Mr. Donziger has noticed five witnesses who are Ecuadorian citizens

currently residing in Ecuador. They are all willing to appear as witnesses at his trial.

None are able to come to the United States at the present time because of travel

restrictions imposed by both the United States Government and the Republic of



11
  For privacy reasons, these details have been omitted from this motion. However, at the Court’s
request, Mr. Donziger will provide the health details of his witnesses.

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Ecuador. The prosecution correctly notes that the Constitution of the Republic of

Ecuador does not permit the extradition of its citizens.12 Moreover, the treaty in place

between the two countries does not permit persons within Ecuador to be extradited

to the United States for the crimes of perjury or other forms of false swearing.13

      As two cases relied upon by the Government make clear, state-mandated

COVID-19 restrictions and the lack of an extradition treaty between the United

States Government and Ecuador make the delivery of testimony by the Ecuadorian

witnesses––either in-person or remotely––practically and legally infeasible,

respectively. See United States v. Banki, No. 10 CR. 08 (JFK), 2010 WL 1063453

at *1–2 (S.D.N.Y. Mar. 23, 2010) (finding that testimony could not be take remotely

where the witnesses would be “entirely beyond the reach of the United States

Government” and therefore not susceptible to “the teeth of perjury . . .”); United

States v. Buck, 271 F.Supp.3d 619, 624 (S.D.N.Y. 2017) (denying a defense motion

to tele-conference witnesses in from Switzerland on the ground that the witnesses,

Swiss citizens, could not be extradited for perjury). This Court has noted “the case

law reflects a deep skepticism about the reliability of remote testimony from

witnesses who cannot be extradited to the United States . . . .” Dkt 186, at 3.



12
   Extradition Treaty Between the United States of America and the Republic of Ecuador,
MCNABB ASSOCIATES,
http://www.mcnabbassociates.com/Ecuador%20International%20Extradition%20Treaty%20with
%20the%20United%20States.pdf (last accessed Oct. 19, 2020).
13
   Id.

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      But for COVID-19, all of the noticed witnesses from Ecuador would testify

in New York. They cannot do so because of risks posed by a global pandemic and

associated prohibitions put in place by their government and ours. Mr. Luis Yanza,

as with the other witnesses from Ecuador, is willing to voluntarily come into the

United States when health conditions and both governments permit safe travel

without lengthy and burdensome quarantines. While we all welcome state actions

taken to prevent the spread of COVID-19, those actions cannot be allowed to

infringe upon a criminal defendant’s rights when an adjournment would further the

actions’ very goals and would also leave the defendant’s constitutional rights intact.

      In sum and to be clear, Mr. Donziger is not requesting the Court allow the

Ecuadorian witnesses to testify remotely, as asserted by the prosecution (see Dkt.

184, at 2), but is instead noting that holding the trial on November 4th would

effectively foreclose him from presenting their testimony as part of his defense.


         b. Mandating Compliance with Rule 15 Requirements in order to
            Permit Defense Witnesses to Testify Virtually Would Require
            Donziger to Surrender Rights Guaranteed to Him Under the Sixth
            Amendment

      As the Government has noted, one court in this Circuit has held the standards

and procedures used for Federal Rule of Criminal Procedure 15 depositions are

coterminous with the requirements of having defense witnesses testify through

CCTV. Buck, 271 F.Supp.3d at 622–23. The Buck court applied a standard



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announced in Gigante and later endorsed in United States v. Mostafa,

14 F.Supp.3d 515, 521 (S.D.N.Y. 2014). Both Gigante and Mostafa concerned

analysis of whether Government witnesses could be permitted to testify via CCTV

without violating the Confrontation Clause. Gigante, 166 F.3d at 81 (“Under the

circumstances of this case, Judge Weinstein could have admitted Savino's testimony

pursuant to Rule 15 without offending the confrontation clause.”); Mostafa, 14 F.

Supp. 3d at 518 (“The Court has held at the forefront of its analysis the defendant's

Sixth Amendment right to confront witnesses against him.”). In so doing, the Buck

court erroneously (and by all appearances, inadvertently) extended Sixth

Amendment protections to the prosecution. Rule 15’s requirements are not

coterminous with the requirements of allowing CCTV testimony for defense

witnesses because defense witnesses, unlike the Government witnesses analyzed in

Gigante and Mostafa, are not subject to the Confrontation Clause.

      However, even if this Court were to decide defense witnesses ought to be

subjected to Confrontation Clause-level scrutiny, Rule 15’s requirements should not

apply to defense witnesses at a November 4th trial because their inability to appear

is state-created. Rule 15, as it pertains to defense witnesses, contemplates the

defendant electing to utilize Rule 15 procedures. The stringent requirements

pointed to by the Government ought not be applied to impede the defense from

calling witnesses who cannot practically appear because of unprecedented



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Government restrictions put in place for reasons entirely independent of any alleged

wrongdoing by the defendant. While Rule 15’s stringent requirements may be

sensible when the defense wishes to depose a witness in advance of trial despite the

amenableness of the trial courtroom to live appearance, they do not make sense when

defense witnesses are constructively barred by state action from otherwise testifying.

       With respect to stringent requirements, this Court has already ordered

Donziger to provide the names of witnesses in anticipation of a virtual or tele-trial.

Donziger’s judicially-promoted lead trial counsel has attempted to comply with the

Court’s order to the best of their abilities. However, the defense has no duty to make

disclosure of the names of its witnesses prior to calling them.14

       Second, while there is no requirement that the defendant pre-screen his

witnesses by providing the “subject matter of the expected testimony,” the Court’s

recent order has imposed that burden upon Mr. Donziger. Revealing the subject

matter of a witness’s expected testimony flips the burden of proof onto the defendant

by presenting an aspect of the defense’s case first and allowing the prosecution to

plan their presentation around necessarily telegraphed defenses. In so doing, the

defense’s mere readiness to put on a case may create the need to do so, as the




14
  In jury trials, of course, names are submitted at the time of jury selection to ensure that none of
the proposed witnesses are known to the prospective jurors. Even then, those names are often
submitted as part of a list of “names” that may come up in the course of the trial.

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prosecution gains the chance to prepare a clairvoyant counter to an argument that,

but-for the preview, the defense may not have had to present at all.

       Third, the legal standard cited by the prosecution, and adopted by this Court,

Dkt. 186, at 4, requires the defense to prove that the proposed testimony is

“material,” defined as “highly relevant to the central issue in the case” or will

“challenge central aspects of the government’s allegations.” Buck, 271 F.Supp.3d.

at 623. This standard imposes upon the defense a much greater threshold burden to

simply get his witnesses up on the witness stand.               However, defense witness

testimony is presumptively admissible so long as it is “relevant” under Federal Rules

of Evidence 401–02.15 While a trial court has authority under Rule 403 to cabin or

exclude even relevant evidence, it has no authority to do so ab initio on the basis that

the evidence is not “highly relevant to the central issue in the case.” Furthermore,

the “materiality” of defense testimony cannot properly be determined until the

prosecution has presented its case.

       Thus, Mr. Donziger has been asked to surrender rights he does not wish to

surrender, and to make showings that he is unwilling to make, all in order to have an

online virtual trial that he adamantly opposes as fundamentally unfair and which can

result in real, not virtual, imprisonment.


15
   Under the Federal Rules, “relevant” evidence is evidence having any tendency to make the
existence of any fact that is of consequence to the determination of the action more probable or
less probable than it would be without the evidence.

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   II.      THE CONSTITUTIONALITY OF MR. ZELMAN TESTIFYING
            REMOTELY MUST BE REEVALUATED IN LIGHT OF
            CHANGING CIRCUMSTANCES

         Mr. Zelman’s desire not to travel to New York during a global pandemic is

shared by the entire defense and witnesses, and underscores the untenable reality of

conducting a trial at this time. Mr. Donziger has previously taken issue with the

Government’s desire to permit two-way video testimony from Government witness

Zelman, Dkt. 140, at 7, and those objections are repeated as if set forth fully

herein. However, permitting Mr. Zelman to testify at a trial commencing

November 4th requires an updated analysis because this Court’s decision was based

on the circumstances surrounding a September 9th trial date.

         In granting the Government’s motion to permit Mr. Zelman to testify via

two-way video, the Court relied upon the Second Circuit’s decision in Gigante, in

which the court allowed a Government witness to testify via two-way closed-

circuit television “[u]pon a finding of exceptional circumstances[.]” 166 F.3d 75,

81 (2d Cir. 1999). While Gigante remains good law in this Circuit, its allowance of

two-way video testimony in the face of a never-ending dearth of alternatives to

virtual testimony does not extend to the instant matter. United States v. Banki,

2010 U.S. Dist. LEXIS 27116, at *5 (S.D.N.Y. Mar. 23, 2010), cited by the

prosecution, also presented a permanent hurdle to having the witness at issue

testify in person. In Gigante, the would-be witness was in the final stages of an

                                          12
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inoperable cancer and was under close medical supervision at the time of trial. In

Banki, the witnesses could not enter the United States out of fear of arrest and

could not complete Rule 15 depositions as doing so would reveal the locations of

individuals protected under the federal witness protection. Mr. Zelman’s

circumstances do not qualify for the exception to the Sixth Amendment outlined in

Gigante, as a recent case addressing a similar situation makes clear. In United

States v. Pangelinan, the court distinguished its facts from Gigante and other,

similar cases on the ground that those “cases involve[d] witnesses who had an

indefinite inability to travel or were gravely ill.” No. 19-10077-JWB, 2020 WL

5118550 at *3 (D. Kan. Aug. 31, 2020). As far as the defense has been informed,

Mr. Zelman is neither gravely ill nor does he have an indefinite inability to travel.

Dkt. 152. But for the pandemic, Mr. Zelman could presumably travel to New York

with relative ease. His reasons for not travelling–presently shared by many

millions of people, including the defendant, his counsel, and defense witnesses––

will subside as soon as COVID is quelled and the courtrooms of SDNY are safe for

all participants, those with medical pre-conditions included. The desire to clear the

Court’s calendar of a petty contempt does not justify holding an expedited and

abridged criminal trial which may well break multiple Sixth Amendment

guarantees to the defendant.




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     III.     SOCIAL DISTANCING AND OTHER SAFETY MEASURES MAY
              CREATE A VIOLATION OF MR. DONZIGER’S RIGHT TO THE
              EFFECTIVE ASSISTANCE OF COUNSEL

        Jessica Roth, a professor at Cardozo Law School and co-director of the Jacob

Burns Center for Ethics in the Practice of Law (and a former federal prosecutor in

this district), has noted:


        [T]he Sixth Amendment provides defendants with the right to the
        “assistance of counsel” in their defense. In court, defense counsel and
        their clients might well have to practice social distancing and wear
        masks, limiting their ability to communicate privately. Outside court,
        defense counsel may be understandably concerned about the safety of
        visiting with their clients [. . .] Some lawyers undoubtedly will feel
        pressure to sacrifice safety in the name of professionalism. Is it fair to
        ask that of them? If they do not, will defendants be deprived of the
        effective assistance of counsel?16

        The right to the effective assistance of counsel has been understood to mean

that there can be no restrictions upon the function of counsel in defending a criminal

prosecution in accord with the traditions of the adversary factfinding process that

has been constitutionalized in the Sixth and Fourteenth Amendments. Herring v.

New York, 422 U.S. 853, 857 (1975). Currently, the sole attorney of record for Mr.

Donziger faces a gravely serious choice either to defy her doctor’s warning not to




16
  Jessica A. Roth, The Constitution is on Pause in America’s Courtrooms, THE ATLANTIC,
October 10, 2020, https://www.theatlantic.com/ideas/archive/2020/10/constitution-pause-americas-
courtrooms/616633/.

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travel on a plane from Oregon to New York in time for a November 4th trial, 17 or

follow her doctor’s advice and deprive Mr. Donziger of the assistance of counsel via

a live lawyer.18

       Even if defense counsel elects to put her health in jeopardy and chooses to

travel to New York in order to defend Mr. Donziger in person, safety guidelines will

still create a significant barrier to providing effective assistance of counsel within

the meaning of the Sixth Amendment. The Centers for Disease Control and

Prevention (CDC) advises that, when indoors, all individuals who do not cohabitate

should wear masks and remain at least 6 feet apart from each other.19 The inability

to effectively confer confidentially with his lawyer due to being more than 6 feet

away from each other while both wearing cloth masks in a small courtroom may

amount to a violation of the right to counsel. A review of caselaw from various

circuits demonstrates that, although the use of some nontraditional seating


17
   Lane County, where attorney Regan resides, was formally added to Oregon’s COVID-19
watch list on October 16th. See, e.g., Jordyn Brown, Lane County Added to state COVID-19
County Watch List, THE REGISTER-GUARD, Oct. 16, 2020,
https://www.registerguard.com/story/news/2020/10/16/covid-case-increase-lands-lane-county-
oregons-county-watch-list/3683280001/.
18 “At in-person court proceedings . . . [i]f a client has a question or concern during the court
proceeding, the client can consult with the attorney at counsel table or, if necessary, request a
brief recess for a more private and thorough consultation. Replicating this level of
communication and consultation in virtual or remote court proceedings is difficult.” American
Bar Association HOD Resolution 117, August 3–4 2020, available at:
https://www.americanbar.org/content/dam/aba/directories/policy/annual-2020/117-annual-
2020.pdf.
19
   Social Distancing: Keep a Safe Distance to Slow the Spread, CTR. FOR DISEASE PREVENTION AND
CONTROL, https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html
(last visited, Oct. 19, 2020).

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arrangements have been found to comply with the Sixth Amendment, a November

4th trial in this case would lack the saving grace of nontraditional arrangements which

have been judicially condoned.

      In United States v. Jones, 766 F.2d 994, 1004 (6th Cir. 1985), a case involving

eighteen defendants, the Sixth Circuit found no Sixth Amendment violation where

defendants “were seated in two rows immediately behind counsel table” because

defendants were permitted to pass notes to their attorneys, counsel could get up and

discuss matters with their clients, and no restrictions were placed on communications

during recesses. By contrast, Mr. Donziger may be limited in his ability to pass notes

to his attorney in a timely fashion or at all, or to discuss matters easily and freely

with his attorney as the trial is unfolding. Furthermore, given how recently the sole

attorney of record became his only trial attorney, and with so little time to prepare

to perform that role, she will no doubt need to consult frequently with Mr. Donziger,

a lawyer by training, on matters of legal strategy throughout the trial.

      In United States v. Balsam, 203 F.3d 72, 82 (1st Cir. 2000), the First Circuit

found no abuse of discretion where defendants were “seated in the front row of the

spectator section . . . only four to five feet from defense table”, in part because the

defendants could “freely communicate with their attorneys as they wished, either by

walking the short distance to the defense table, or by passing written notes.” Unlike

the defendants in Balsam, Mr. Donziger would not be able to “freely communicate”



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with his attorney during a trial beginning on November 4th. His inability to freely

communicate will manifest whether he and counsel are in the courtroom together six

feet apart with masks on, or are thousands of miles away communicating via the

Jabber application only.20

       Finally, the defense has taken the steps that it can to address, at least, Mr.

Donziger’s right to the counsel of his choice. Counsel of record has recently

communicated with Ronald L. Kuby, and he has again confirmed that he will be

available to participate in this trial non-virtually if it commences on December 7,

2020 or later. There is simply no rational basis to force Mr. Donziger to trial without

the assistance of live counsel of his choice when a short delay would solve this issue.

If an adjournment to December 7 or later were granted, Mr. Donziger would at least

be assured of having an attorney that he has met in person by his side, even if his

other rights must be infringed upon as part of our “new normal.”


                                    CONCLUSION

       As this Court has aptly stated, “there is no question that limiting the spread

of COVID-19 and protecting at-risk individuals from exposure are critically

important public policies.” Dkt. 152, at 5. In United States v. Pangelinan, supra, the



20 “It is unlikely that any virtual procedure can effectively mimic the communication
opportunities provided by in-person hearings.” American Bar Association HOD Resolution 117,
supra note 23.



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court acknowledged that it “could also continue this matter until the transmission

rate of the virus improves.” This Court has that same choice. The defense therefore

respectfully requests the Court exercise its option to adjourn in order to permit the

holding of a fair and safe trial for all involved.21 If the Court finds, despite the many

compelling reasons for not so concluding, that it must try the petty charges against

Mr. Donziger on November 4, the defense respectfully requests that the Court utilize

the largest courtroom available in order to minimize the risk that trying a crime with

a six month maximum sentence will cost a participant his or her life.


      Dated October 22, 2020.




                                                    Respectfully submitted,


                                                      /s/ Lauren C. Regan
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                                                      Eugene, Oregon 97401
                                                      541.687.9180 phone
                                                      Email: lregan@cldc.org
                                                      Counsel for Steven Donziger




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